     Case 3:19-cv-07647-WHA Document 77-1 Filed 11/16/20 Page 1 of 3



 1   Matthew C. Helland, CA Bar No. 250451
     helland@nka.com
 2   Daniel S. Brome, CA Bar No. 278915
 3   dbrome@nka.com
     NICHOLS KASTER, LLP
 4   235 Montgomery St., Suite 810
     San Francisco, CA 94104
 5   Telephone: (415) 277-7235
     Facsimile: (415) 277-7238
 6

 7   Rachhana T. Srey, MN Bar No. 340133*
     NICHOLS KASTER, PLLP
 8   80 S. 8th Street, Suite 4600
     Minneapolis, MN 55402
 9   Telephone: (612) 256-3200
     Facsimile: (612) 338-4878
10
     *admitted pro hac vice
11
     Benjamin L. Davis, MD Bar No. 29774*
12   bdavis@nicholllaw.com
     Michael Brown, MD Bar No. 20814*
13   mbrown@nicholllaw.com
     THE LAW OFFICES OF PETER T.
14   NICHOLL
     36 Charles Street, Suite 1700
15   Baltimore, MD 21201
     *Pro hac vice application forthcoming
16
     Attorneys for PLAINTIFF and those similarly
17   situated

18
                            UNITED STATE DISTRICT COURT
19                 NORTHERN DISTRICT OF CALIFORNIA - SAN FRANCISCO
20
      AARON KUDATSKY, individually and on                    )   Case No. 3:19-CV-07647-WHA
21    behalf of all others similarly situated,               )
                                                             )   DECLARATION OF DANIEL S.
22                                                           )   BROME IN SUPPORT OF
                                       Plaintiffs,           )   PLAINTIFF’S ADMINISTRATIVE
23                                                           )   MOTION TO FILE UNDER SEAL
                                                             )
24           vs.
                                                             )
                                                             )
25                                                           )
      TYLER TECHNOLOGIES, INC.
                                                             )
26                                                           )
                                       Defendant.
27                                                           )
                                                             )
28

                                                        -1-
                                                     MAST
     [DECLARATION OF DANIEL S. BROME IN SUPPORT OF PLAINTIFF’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                                                                              US_ACTIVE-154098109.1
     Case 3:19-cv-07647-WHA Document 77-1 Filed 11/16/20 Page 2 of 3



 1

 2   I, DANIEL S. BROME, declare:

 3           1.      I am an attorney with the law firm of Nichols Kaster, counsel of record for the

 4   named Plaintiffs and opt-in Plaintiffs in this matter. I make this declaration based upon my

 5   personal knowledge, and could so testify if called to do so.

 6           2.      I submit this Declaration pursuant to Local Rules 79-5(d)(1)(A) and 79-5(e)

 7   to establish the basis for Plaintiff’s Administrative Motion to File Under Seal, filed

 8   concurrently herewith.

 9           3.      The “designated material” that Plaintiff seeks to file under seal contain terms

10   that relate to Tyler Technologies’ compensation to employees. All of the designated

11   material was produced by Defendant and designated Confidential, pursuant to the stipulated

12   protective order.

13           4.      The Parties met and conferred regarding maintaining the Confidential

14   designation of the exhibits, but did not agree to remove the Confidential designations.

15           5.      Pursuant to Local Rule 79-5(e), Plaintiff, as the Submitting Party, identifies

16   the following material as being submitted under seal:

17                   a. Attached hereto as Exhibit A is an unredacted version of Plaintiff’s

18                       Motion for Class Certification;

19                   b. Attached hereto as Exhibit B is a file containing unredacted versions of

20                       Exhibits 1 through 5 submitted in support of Plaintiff’s Motion for Class

21                       Certification.

22           6.      Counsel for Defendant (the Designating Party) has represented that all of the

23   sealed exhibits contain proprietary business information, and has indicated their intention to

24   submit a declaration establishing that all the designated material is sealable within four

25   days, as required by Local Rule 79-5(d)(1)(A) and 79-5(e)(1).

26           7.      Plaintiff therefore requests that the Court order that the documents described

27   supra ¶ 5 be filed under seal.

28

                                                        -2-
     DECLARATION OF DANIEL S. BROME IN SUPPORT OF PLAINTIFF’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     Case 3:19-cv-07647-WHA Document 77-1 Filed 11/16/20 Page 3 of 3



 1   The foregoing statement is made under penalty of perjury and is true and correct to the best

 2   of my knowledge and belief.

 3

 4 Dated: November 16, 2020                                   By:    s/Daniel S. Brome
                                                                     Daniel S. Brome
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                        -3-
     DECLARATION OF DANIEL S. BROME IN SUPPORT OF PLAINTIFF’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
